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         EXHIBIT 11
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 2                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 3

 4
       UNITED STATES OF AMERICA,               )
 5                        Plaintiff            )
                                               )
 6     vs.                                     ) No. 1-19-CR-10080
                                               )
 7     GAMAL ABDELAZIZ and JOHN                )
       WILSON,                                 )
 8                        Defendants.          )
                                               )
 9                                             )

10

11
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
12                         UNITED STATES DISTRICT JUDGE
                                JURY TRIAL - DAY 9
13

14
                   John Joseph Moakley United States Courthouse
15                               Courtroom No. 4
                                One Courthouse Way
16                         Boston, Massachusetts 02210

17

18                               September 21, 2021
                                     9:10 a.m.
19

20

21
                           Kristin M. Kelley, RPR, CRR
22                            Debra Joyce, RMR, CRR
                             Official Court Reporter
23                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
24                         Boston, Massachusetts 02210
                            E-mail: kmob929@gmail.com
25
                   Mechanical Steno - Computer-Aided Transcript
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      1                  MR. FRANK:   Take the document down, please.

      2                  THE COURT:   Take the document down.

      3                  MR. KENDALL:   Okay.    Take the document down.

      4      Q.    Does that refresh you as to the size of the class that was

      5      admitted in 2014 with Mr. Wilson?

      6      A.    No.

      7      Q.    Okay.   Mr. Wilson's suggested GPA was 3.87.         Would you

      8      agree with me that's high for a water polo walk-on?

      9      A.    I don't know off the top of my head.

10:53 10     Q.    Well, you've been doing SUBCO admissions for how many

     11      years?

     12      A.    Many.

     13      Q.    How many?

     14      A.    Probably 14 or 15.

     15      Q.    And in your -- based upon your 14 or 15 years experience

     16      reviewing SUBCO applicants for water polo candidates, would you

     17      agree with me that 3.87 is a pretty high grade point average

     18      for a water polo candidate?

     19      A.    I wouldn't be able to speak to a specific sport, but yes.

10:53 20     3.87 would be a strong GPA among our student athletes.             It's

     21      not a very competitive GPA among our overall applicant pool and

     22      our students that we admit.

     23      Q.    But for student athletes, put him up in maybe the top

     24      20 percent or so for GPA's, rough numbers?

     25      A.    I just haven't looked at those data.
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      1      Q.    Okay.    And if they had a 29 on the ACT, would you agree

      2      with me that would be a high score as well for water polo

      3      walk-on candidates, correct?

      4      A.    Among all student athletes, that would appear to be a

      5      stronger score, but, again, among our overall applicant pool,

      6      it's not --

      7      Q.    I'm asking you about the athletes.         Please limit your

      8      answer to my question.

      9                    My question was for water polo walk-on candidates.         A

10:54 10     29 is a high -- is a relatively high ACT score, correct?           Yes

     11      or no?

     12      A.    I can't answer that question.

     13      Q.    So after 15 years of looking at water polo walk-on files,

     14      you have no memory of what's a good score or a not so good

     15      score on the ACT for a water polo candidate?

     16      A.    You asked me specifically about water polo walk-ons, and

     17      that's very specific.      I don't feel comfortable, you know,

     18      asserting something that I can't be sure of.          I haven't

     19      reviewed those data specifically.

10:55 20     Q.    Okay.    So for general athletic walk-ons, is 29 a pretty

     21      good score?

     22      A.    I think it's fine.      I think we see, you know, again,

     23      students with above and below that among our recruited

     24      walk-ons.

     25      Q.    But that's certainly in the top half, isn't it?
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      1      Q.    And if Mr. Brunold -- Mr. Brunold never told you these

      2      kids don't have any talent, we're just bringing them in for the

      3      money.

      4      A.    No.

      5      Q.    He never said that to you?

      6      A.    No.

      7      Q.    So if that was going on, it was hidden from you, correct?

      8      A.    I had no knowledge of that.

      9      Q.    I had a different question.

11:46 10                 If that was going on, it was hidden from you, correct?

     11                  MR. FRANK:   Your Honor, I object.      She had no

     12      knowledge.

     13                  THE COURT:   Sustained.

     14      BY MR. KENDALL:

     15      Q.    If that was going on, then you would not include

     16      Mr. Brunold when you said, "We do not take donations for

     17      admissions."

     18                  MR. FRANK:   Objection to the hypothetical.

     19                  THE COURT:   He can ask that question.

11:46 20     A.    The work of the SUBCO was to consider students for

     21      athletic talent alone.

     22      Q.    That's your opinion.

     23                  MR. FRANK:   Objection.

     24                  THE COURT:   Sustained.

     25      BY MR. KENDALL:
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      1      Q.    Do you have a written rule that says that?

      2      A.    No, that is the expectations that all of the members of

      3      the office of admission have around what happens at SUBCO.

      4      Q.    Well, when you say that's the expectation of all the

      5      admissions officers, was there a vote taken of the admissions

      6      officers and what their expectations were?

      7      A.    There were --

      8      Q.    Just a yes or no, was there a vote?

      9      A.    There was not a vote.

11:47 10     Q.    Is there a written rule that everybody was given and said

     11      this is compliance department, sign it, this is how you're

     12      going to do your job, you can never consider donations as part

     13      of a SUBCO admissions?

     14      A.    There is not a written rule.

     15      Q.    Okay.   You agree with me this whole sort of college

     16      admissions scandal has been a tremendous embarrassment to USC,

     17      correct?

     18      A.    I was very unhappy to learn about it.

     19      Q.    I'm not asking your opinion.        It's an embarrassment to all

11:47 20     of USC, correct?

     21      A.    Yes, I think that's fair to say.

     22      Q.    And you'd agree with me the last thing the USC admissions

     23      department wants the world to think is that it was willing to

     24      sell slots to people for money, correct?

     25      A.    The admission office was not willing to do that.
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                                                                              210




 1     C E R T I F I C A T E

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 4     UNITED STATES DISTRICT COURT )

 5     DISTRICT OF MASSACHUSETTS         )

 6

 7

 8                 We, Kristin M. Kelley and Debra Joyce, certify that

 9     the foregoing is a correct transcript from the record of

10     proceedings taken September 21, 2021 in the above-entitled

11     matter to the best of our skill and ability.

12

13

14           /s/ Kristin M. Kelley                       September 21, 2021

15           /s/ Debra Joyce                             September 21, 2021

16           Kristin M. Kelley, RPR, CRR                     Date
             Debra Joyce, RMR, CRR
17           Official Court Reporter

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